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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA
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KESHA T. WILLIAMS,


            Plaintiff,

V.                                       Civil Action No. l;20-cv-1397


STACY A. KINCAID, et al.,

            Defendants.




                           MEMORANDUM OPINION


      THIS MATTER comes before the Court on the Motions to Dismiss


by Defendants Deputy Garcia and Xin Wang.

      Plaintiff is a transgender woman who has lived as a female

and received hormone therapy for fifteen years. From 2018 to 2019,

Plaintiff was incarcerated at the Fairfax County Adult Detention

Center (''Detention Center"). Because Plaintiff maintains the male

genitalia with which she was born. Plaintiff was classified as a

male during her intake. This classification was in accordance with

the Sheriff's Office policy that inmates are classified based on

his or her genitalia. Defendant Wang is a nurse practitioner who

conducted Plaintiff's medical evaluation at the time of her intake


at the Detention Center. Plaintiff informed Defendant Wang of her

ongoing hormone treatment, which at the time consisted of a daily

pill and bi-weekly injections.
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      Defendant Garcia is a deputy of the Fairfax County Sheriff's

Office. In January 2019, he conducted a search of Plaintiff's

person during a shakedown of Plaintiff's housing unit.

      In November 2020, Plaintiff filed the present action against

the Sheriff of Fairfax County, Maxim Healthcare Services, Inc.,

nine "Custody Does," and six "Health Care Does." Plaintiff amended

the Complaint on February 12, 2021 to include Defendants Wang

(presumably, one of the Health Care Does) and Garcia (presumably,

a Custody Doe). Defendants Wang and           Garcia filed the present

Motions to Dismiss on April 2, 2021.

      A complaint should be dismissed pursuant to Federal Rule of

Civil Procedure 12(b)(6) for failure to state a claim "if after

accepting    all   well-pleaded     allegations    in   the    plaintiff's

complaint as true . . . it appears certain that the plaintiff

cannot prove any set of facts in support of his claim entitling

him to relief." Edwards v. City of Goldsboro, 178 F.3d 231, 244

(4th Cir. 1999). A plaintiff must allege "a plausible claim for

relief," instead of merely stating facts that leave open "the

possibility that a plaintiff might later establish some set of

undisclosed facts to support recovery."           McCleary-Evans v.     Md.

Dep't of Transp., State Highway Admin., 780 F.3d 582, 587 (4th

Cir. 2015) (emphases in original).

      Although a court considering a motion to dismiss must accept

all well-pleaded factual allegations as true, this deference does
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not extend to legal conclusions. Neither "naked assertions devoid

of further factual enhancement," nor "[t]hreadbare recitals of the

elements    of   a   cause   of   action,   supported   by   mere   conclusory

statements" suffice. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

      Count I of the Amended Complaint claims that Defendant Wang

acted with deliberate indifference toward Plaintiff as prohibited

by the Eighth Amendment and brought pursuant to 42 U.S.C. § 1983.

Plaintiff alleges that Defendant Wang knowingly and intentionally

stopped and interrupted Plaintiff's hormone therapy treatments,

denied her treatment for gender dysphoria, and failed to conduct

an individualized assessment of Plaintiff's gender dysphoria early

during her incarceration.

      First, some of Plaintiff's claims must be dismissed as time

barred. Though Plaintiff filed the initial Complaint in November

2020, Defendants Garcia and Wang were not named as defendants until

Plaintiff amended her complaint on February 12, 2021.

      The   Relation     Back     doctrine—which   applies    to    defendants

originally named as "Does" in the initial pleadings but identified

later in an amended complaint—does not apply here. For claims

against a re-named defendant in an amended complaint to relate

back, the   re-named     defendants must receive        notice of   the claim

before expiration of the service provided in Federal Rule of Civil

Procedure 4(m). Rule 4(m) states that a defendant must be served

within 90 days after the complaint is filed. The Court extended
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the time period for Plaintiff to serve Defendants in this matter,

but this extension does not apply for the purpose of the Relation

Back doctrine. Thus, Plaintiff had until February 14, 2021, 90

days after filing the initial Complaint, to serve Defendants. She

failed    to   do    so;     therefore,   any   claims      premised    on   actions

occurring more than two years prior to the filing of the Amended

Complaint, February 12, 2021, are barred by the § 1983 two-year

statute of limitations.


        Within the relevant time period following February 12, 2019,

the   Amended    Complaint       references     only   one    instance    involving

Defendant Wang that forms the basis of Plaintiff's deliberate

indifference        claim:    the   interruption       of    Plaintiff's     hormone

injections from April 22 to May 6, 2019.

      The     Amended      Complaint   claims   that    these     injections    were

administered by the Detention Center "under the supervision of NP

Wang," suggesting Defendant Wang is liable as a supervisor for the

lapse    in    Plaintiff's      hormone   treatment.        To   show   supervisory

liability in a claim brought under § 1983, a plaintiff must show

the following:

      (1) that the supervisor had actual or constructive
      knowledge that his subordinate was engaged in conduct
      that posed a pervasive and unreasonable risk of
      constitutional injury to citizens like the plaintiff;
      (2) that the supervisor's response to that knowledge was
      so inadequate as to show "deliberate indifference to or
      tacit authorization of the alleged offensive practices;
      and
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       (3) that there was an affirmative causal link between
       the   supervisor's   inaction   and    the   particular
       constitutional injury suffered by the plaintiff.


Shaw   V.    Stroud,    13    F.3d   791,    799   (4th      Cir.   1994)      (internal

quotations omitted).

       The Amended Complaint states that on May 9, 2019 Plaintiff

submitted to the Detention Center a written complaint about her

lapse in hormone injections. This is the Amended Complaint's only

allegation that Defendant Wang had at least constructive knowledge

of the Detention Center's failure to provide Plaintiff with her

hormone      injections.      The    Amended    Complaint        does    not     mention

Defendant      Wang's    response      (if     any)     to     Plaintiff's       written

complaint. In fact, Plaintiff was released from the Detention

Center only a few days later. Even assuming Defendant Wang had

constructive knowledge, her response was not so inadequate so as

to show deliberate indifference or tacit approval of the missed

treatments. Count I against Defendant Wang is dismissed for failure

to state a claim.


       The    Amended        Complaint      also      claims     Defendant       Garcia

discriminated     against      Plaintiff     on    the    basis     of   her    sex,   in

violation of the Fourteenth Amendment Equal Protection Clause.

Plaintiff asserts that Defendant Garcia discriminated against her

by ''subjecting her to a cross-gender search of her person despite

his knowledge that Ms. Williams is a woman." Plaintiff has not
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stated a claim upon which relief can be granted against Defendant

Garcia.


       The § 1983 claim against Defendant Garcia is premised on a

search that occurred in January 2019. Count II against Defendant

Garcia is barred by the two-year statute of limitations and must

be dismissed pursuant to Federal Rule of Civil Procedure 12(b)(6).

       Count III of the Amended Complaint claims that Defendant Wang

failed to accommodate Plaintiff's alleged disability pursuant to

the Americans with Disabilities Act Amendments Act ("ADAA") and

the Rehabilitation Act ("RA). In her Memorandum in Opposition to

the present Motion, Plaintiff stipulates to dismissal of Count

III.


       Plaintiff's cause of action for gross negligence against

Defendants Garcia and Wang also fail to state a claim upon which

relief may be had.

       With respect to the allegations against Defendant Wang, "all

tort claims based on the provision of health care services against

health care providers are considered malpractice claims and are

governed by the Virginia Medical Malpractice Act." Gedrich v.

Fairfax Cty. Dep't of Fam. Servs., 282 F. Supp. 2d 439, 477 (E.D.

Va. 2003). The gross negligence claim against Defendant Wang, a

health care provider, is thus a medical malpractice claim under

Virginia law.
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      As   previously    discussed,    the      only   allegation    against

Defendant Wang that falls within the appropriate time period is

her alleged failure to supervise the Detention Center's provision

of Plaintiff's hormone injections from April 22 to May 6, 2019.

      Virginia law states "there is no basis or reason for holding

a physician liable for the conduct of another physician, a hospital

nurse, or any other hospital employee" for medical malpractice

under a theory of vicarious liability." Wolf v. Fauquier Cty. Bd.

of Sup'rs, No. 1:06CV945, 2007 WL 2688418, at *6 (E.D. Va. Sept.

12, 2007) {internal quotations omitted). As such, there is no basis

to hold Defendant Wang liable in a supervisory role for the

Detention Center's failure to administer Plaintiff's injections.

The claim against Defendant Wang for gross negligence should be

dismissed for failure to state a claim upon which relief may be

granted.

      Gross   negligence     is   "a   degree     of   negligence    showing

indifference to another and an utter disregard of prudence that

amounts to a complete neglect of the safety of such other person."

Elliott V. Carter, 292 Va. 618, 622 (2016) (internal citations

omitted). It "requires a degree of negligence that would shock

fair-minded    persons."    Id.   Generally,     the   existence    of   gross

negligence is a question of fact for the jury. But "the standard

for gross negligence [in Virginia] is one of indifference, not

inadequacy" and thus, "a claim for gross negligence must fail as
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a   matter     of    law   when   the    evidence    shows    that   the   defendants


exercised some degree of care." Id. (internal citations omitted).

       The Amended Complaint shows Defendant Garcia exercised some

degree of care. Defendant Garcia's search of Plaintiff complied

with     the        Sheriff's     Office      policies       relating      to    gender

classification,           which are directed at promoting the safety of

inmates and prison staff. This shows the existence of some degree

of care toward inmates, including Plaintiff. Under Virginia law,

this   degree        of    care   is    all   that   is   necessary     to      preclude

Plaintiff's gross negligence cause of action.

       For the foregoing reasons. Plaintiff has failed to state a

claim against Defendants Garcia and Wang, and the claims against

them should be dismissed. An accompanying order shall issue.




                                                CLAUDE M. HILTON
                                                UNITED STATES DISTRICT JUDGE


Alexandria, Virginia
August    /_£_/ 2021
